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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA                                                                 PLAINTIFF


VERSUS                                                             CIVIL ACTION NO. 4:05CR95


DANIEL PALOMENO, REFUGIO BARRON, JR.
LASHON ANDERSON, TONY BARNES, MARCUS
CHRISTIAN, KIM CURTIS, JERMAINE EGGLESTON,
KEITH GARDNER, SHARON HALL, VERNAL
MAGBEE, LAWRENCE PAUL, GARY RANSOM,
CALVIN SHOEMAKER, SHADRACH TOWNSEND,
CHANISE WESTBROOKS, ANDREW WILLIAMS,
LULU WILLIS, ANDRE WINFORD, VESTER WRIGHT,
KEVIN DATES, SHONDA BURT FORD, DANIEL IBARRA,
DAVID IBARRA, TORIS JACKSON, KEVIN MATTHEWS,
HEZIEKIAH PATTON

                                               ORDER

       This cause is before the Court on defendant David Ibarra’s Motion for Continuance [360] and

Supplemental Motion for Continuance [368]. The Court, having reviewed the motion and being

otherwise fully advised in the premises, finds as follows, to-wit:

       The trial of this matter is currently set for February 6, 2006. Counsel for defendant avers that

he lacks sufficient time to devote to trial preparation due to his trial obligations in other previously

scheduled matters. Furthermore, this is a complex case with numerous defendants. The discovery

is voluminous and defense counsel has not had an adequate opportunity to review the available

material and to confer with his client. The government does not oppose the relief sought in the

instant motions.    Based on the foregoing, the Court finds that the defendant’s Motion for

Continuance is well-taken and should be granted.
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       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A),

the period of delay from February 6, 2006 until the new trial date to be set in this matter. The time

is excludable under subsection (h)(8)(A) because, given the circumstances described above, a

continuance is necessary to afford defendant a reasonable time for adequate and effective preparation

of his defense. Therefore, the ends of justice served by the granting of this continuance outweigh

the best interests of the public and the defendant in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that

       1.      The defendant’s Motion for Continuance[360] and Supplemental Motion for

               Continuance [368] are GRANTED;

       2.      That the trial of this matter is continued as to all defendants until Monday, March 20,

               2006 at 9:00 a.m. in the United States District Courthouse in Greenville, Mississippi;

       3.      That the delay from February 6, 2006 until March 20, 2006, 2006 is excluded as set

               out above;

       4.      That the deadline for filing pretrial motions is February 27, 2006;

       5.      That the deadline for submitting a plea agreement is March 6, 2006.

       SO ORDERED, this the 11th day of January, 2006.


                                                       /s/ W. Allen Pepper, Jr.
                                                       W. ALLEN PEPPER, JR.
                                                       UNITED STATES DISTRICT JUDGE
